Case 2:00-cv-05965-PGS-ES Document 336 Filed 04/12/07 Page 1 of 1 PagelD: 5401
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
MINUTES OF PROCEEDINGS

April 12, 2007
NEWARK OFFICE DATE OF PROCEEDINGS

JUDGE PETER G. SHERIDAN, USDJ

 

COURT REPORTER: IRA RUBENSTEIN

Other(s)

 

Docket # Civ. 00 - 5965 (PGS )
ROCKER MANAGEMENT, et al

VS.

LERNOUT & HAUSPIE, et al

APPEARANCE:

LAWRENCE ROLNICK, JOHN MCFERRIN - CLANCY, JEFFREY W. HERRMANN, ESQS., FOR
PLAINTIFFS

GEORGE A. ZIMMERMAN, JOHN BOYLE, PETER MORRISON, SHALOM D. STONE, GEORGE A.
SALTER, SCOTT T. TROSS, BRIAN J. MCMAHON, FREDERICK R. KESSLER, ESQS ., FOR
DEFENDANTS

NATURE OF PROCEEDINGS: HEARING

HEARING ON MOTIONS (DECISION RESERVED).

Adjourned to: Time commenced:.10:00 a.m. Time Adjourned:_12:30 p.m.

Dolores Hicks
DEPUTY CLERK

cc: Chambers

 

 
